         Case 9:05-cv-80781-DMM Document 31 Entered on FLSD Docket 01/09/2006 Page 1 of 6

                                                                                                   Jan 6 2006
                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                       WEST PALM BEACH DIVISION

           JOHN J. BOSWELL,

                  Plaintiff,                                 Case No: 05-80781 CIV-Middlebrooks

           v.                                                Magistrate Judge Johnson

           JEFFREY FISHER AND
           FISHER & BENDECK, P.A.,

                Defendants.
           _______________________/

                 PLAINTIFF’S MOTION AND MEMORANDUM OF LAW FOR PROTECTIVE
                ORDER SEQUESTERING FACT WITNESSES PRIOR TO DEPOSITIONS AND
                 BARRING FACT WITNESSES FROM ATTENDING, READING, OR BEING
                INFORMED ABOUT TESTIMONY AT DEPOSITION OF OTHER WITNESSES

                  Plaintiff John J. Boswell (“Boswell”), pursuant to Fed.R.Civ.P. 26(c)(5); Fed.R.Evid.

           615; and S.D. Fla.L.R., App.A., II.A(2) moves the Court for a protective order sequestering

           fact witnesses prior to their depositions and barring fact witnesses from attending, reading,

           or being informed about testimony at depositions of other fact witnesses. In support

           hereof, Boswell states:

                                                      I.
                                      Factual and Procedural Background

                  1.      Boswell filed this action on August 25, 2005, seeking damages against

           Defendants for their violations of Title III of the Omnibus Crime Control and Safe Streets

           Act (“Act”), 18 U.S.C. §2510, et seq. Boswell alleges that Defendants, a lawyer and his law

           firm, used illegally recorded private and confidential telephone conversations in violation

           of the Act during the course of depositions in a prior judicial proceeding.

                  2.      Depositions are scheduled to commence in this case on Tuesday, January




1 of 6
                                                                                                            31/cj
         Case 9:05-cv-80781-DMM Document 31 Entered on FLSD Docket 01/09/2006 Page 2 of 6



                                                                 Case No: 05-80781 CIV-Middlebrooks

           10, 2006. The first deposition scheduled is that of Boswell on January 10, 2006. The

           depositions of Defendants and several non-party fact witnesses are scheduled thereafter.

                  3.     Boswell believes that his deposition will be attended by non-party fact

           witnesses who are scheduled to be deposed in these proceedings.

                  4.     Boswell anticipates that during his deposition, Defendants will seek to inquire

           about the substance of the illegally recorded private conversations, the contents of which,

           if heard by non-party witnesses, will invade Boswell’s privacy. In addition, Boswell

           anticipates that the attending witnesses, who are themselves scheduled to be deposed in

           this case, will alter or tailor their subsequent testimony after attending Boswell’s deposition.

                  5.     Accordingly, pursuant to Fed.R.Civ.P. 26(c)(5); Fed.R.Evid. 615; and

           S.D.Fla.L.R., App. A, II.A(2), Boswell requests that the Court sequester fact witnesses prior

           to their depositions such that non-party fact witnesses be barred from attending, reading,

           or being informed about the testimony adduced at the depositions of other witnesses.

                                                      II.
                                               Memorandum of law

                  Rule 26(c)(5) provides, in pertinent part that:

                         Upon motion by a party or by the person from whom discovery
                         is sought, accompanied by a certification that the movement
                         has in good faith conferred or attempted to confer with other
                         affected parties in an effort to resolve the dispute without court
                         action, and for good cause shown, the court in which the action
                         is pending or alternatively, on matters relating to a deposition,
                         the court in the district where the deposition is to be taken may
                         make any order which justice requires to protect a party or
                         person from annoyance, embarrassment, oppression, or
                         undue burden or expense, including one or more of the
                         following:
                         ...

                                                          2



2 of 6
         Case 9:05-cv-80781-DMM Document 31 Entered on FLSD Docket 01/09/2006 Page 3 of 6



                                                               Case No: 05-80781 CIV-Middlebrooks


                         (5) that discovery be conducted with no one present except
                         persons designated by the court. . . .

           Furthermore, Rule 615 of the Federal Rules of Evidence provides that:

                         At the request of a party the court shall order witnesses
                         excluded so that they cannot hear the testimony of other
                         witnesses, and it may make the order of its own motion. This
                         rule does not authorize exclusion of (1) a party who is a natural
                         person, or (2) an officer or employee of a party which is not a
                         natural person designated as its representative by its attorney,
                         or (3) a person whose presence is shown by a party to be
                         essential to the preparation of the party’s cause, or (4) a
                         person authorized by statute to be present.

           Finally, §II.A(2) of Appendix A of this Court’s Local Rules provides:

                         (2) Persons Who May Attend Depositions. As a general
                         proposition, pretrial discovery in civil matters must take place
                         in public unless compelling reasons exist for denying the public
                         access to the proceedings. Each lawyer may ordinarily be
                         accompanied at the deposition by one representative of each
                         client and one or more experts. If witnesses sequestration is
                         desired, a court order entered prior to the deposition is
                         required. Lawyers may also be accompanied by records
                         custodians, paralegals, secretaries, and the like, even though
                         they may be called as technical witnesses on such questions
                         as chain of custody or the foundation for the business record
                         rule, or other technical matters. While more than one lawyer
                         for each party may attend, only one should question the
                         witness or make objections, absent contrary agreement.

                  The Court has the authority, under the foregoing rules, to order the exclusion of non-

           party fact witnesses from the depositions of parties or non-party witnesses. See generally

           8 A. Wright, A. Miller & R. Marcus, Fed. Prac. & Proc. §2041 (2005). The sequestration

           of witnesses is well established. See Frideres v. Schlitz, 150 F.R.D. 153, 158 (S.D. Iowa

           1993)(“Sequestering witnesses to assist in ascertaining truth is at least as old as the


                                                        3



3 of 6
         Case 9:05-cv-80781-DMM Document 31 Entered on FLSD Docket 01/09/2006 Page 4 of 6



                                                                  Case No: 05-80781 CIV-Middlebrooks

           Bible.”).   Sequestration is particularly appropriate to prevent the dissemination of

           confidential information. See Phillips Petroleum Co. v. Rexene Products Co., 158 F.R.D.

           43 (D. Del. 1994). Sequestration also serves the purposes of preventing witnesses from

           “tailoring” their testimony to that of earlier witnesses and to detect testimony that is less

           than candid. Geders v. United States, 425 U.S. 80, 87, 96 S.Ct. 1330, 1335 (1976).

                  This lawsuit concerns the illegal recording of private and confidential

           communications and the unauthorized use of those communications by Defendants. The

           first deposition scheduled is that of Boswell, on Tuesday, January 10, 2006. There are

           also several other depositions scheduled, including the depositions of Defendants and

           various non-party fact witnesses. Because this action revolves around the recording of

           private conversations, Boswell anticipates that Defendants, during his deposition, will seek

           to elicit information regarding these private and confidential communications.

                  In order to protect Boswell’s privacy and the confidentiality of the illegally intercepted

           communications, and to prevent fact witnesses who are scheduled to be deposed

           subsequent to Boswell’s deposition from tailoring their testimony based on Boswell’s

           deposition, Boswell asks that the Court order the sequestration of fact witnesses prior to

           their depositions by barring them from attending, reading, or being informed about the

           substance of testimony of other witnesses. Such sequestration will serve to ensure the

           integrity of the proceedings and the confidentiality of the information disclosed therein.

                                                        III.
                                                     Conclusion

                  For the reasons stated herein, Boswell requests that the Court enter the relief

           described herein.

                                                          4


4 of 6
         Case 9:05-cv-80781-DMM Document 31 Entered on FLSD Docket 01/09/2006 Page 5 of 6



                                                                                              Case No: 05-80781 CIV-Middlebrooks

                                                                                         IV.
                                                                             Certification of Counsel

                        The undersigned counsel certifies that Defendants’ counsel opposes the relief

           requested herein.

                                                                    CERTIFICATE OF SERVICE

                  WE HEREBY CERTIFY that a true and correct copy of the foregoing was furnished
           via U.S. mail and fax this 6th day of January 2006, to:

           Gene P. Kissane, Esq.                                                            Stuart Z. Grossman, Esq.
           Barry A. Postman, Esq.                                                           Grossman & Roth
           S. Jonathan Vine, Esq.                                                           Grand Bay Plaza
           Cole Scott & Kissane, P.A.                                                       2665 S. Bayshore Drive
           1645 Palm Beach Lakes Boulevard                                                  Suite PH-1
           2nd Floor                                                                        Miami, Florida 33133
           West Palm Beach, Florida 33401

                                                                                     /s/ Atlee W. Wampler III
                                                                                     Atlee W. Wampler III, Esq.
                                                                                     Florida Bar No: 0311227
                                                                                     Ricardo A. Banciella
                                                                                     Florida Bar No. 0599440
                                                                                     WAMPLER BUCHANAN WALKER
                                                                                     CHABROW & BANCIELLA, P.A.
                                                                                     SunTrust International Center
                                                                                     One S.E. Third Avenue, Suite 1700
                                                                                     Miami, Florida 33131
                                                                                     Tel. 305-577-0044; Fax 305-577-8545
                                                                                     E-Mail: awampler@wbwcb.com
                                                                                     E-Mail: rbanciella@wbwcb.com

                                                                                     and

                                                                                     Lawrence M. Burrell, Jr., Esq.
                                                                                     Florida Bar No: 982342
                                                                                     2880 S.E. Downwinds Road
                                                                                     Jupiter, Florida 33478
                                                                                     Tel: 561-747-5705; Fax: 561-747-0352
                                                                                     E-Mail: info@lmburrell.com

                                                                                     Counsel for Plaintiff
           F:\C LIE N T S \6082\P LE A D IN G S \M -P rotective O rder.wpd




                                                                                        5

5 of 6
         Case 9:05-cv-80781-DMM Document 31 Entered on FLSD Docket 01/09/2006 Page 6 of 6



                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                         WEST PALM BEACH DIVISION

           JOHN J. BOSWELL,

                   Plaintiff,                                    Case No: 05-80781 CIV-Middlebrooks

           v.                                                    Magistrate Judge Johnson

           JEFFREY FISHER AND
           FISHER & BENDECK, P.A.,

                Defendants.
           _______________________/

                              ORDER GRANTING PLAINTIFF’S MOTION
                        AND MEMORANDUM OF LAW FOR PROTECTIVE ORDER
                    SEQUESTERING FACT WITNESSES PRIOR TO DEPOSITIONS AND
                   BARRING FACT WITNESSES FROM ATTENDING, READING, OR BEING
                 INFORMED ABOUT TESTIMONY AT DEPOSITION OF OTHER WITNESSES

                   THIS CAUSE came before the Court upon Plaintiff’s Motion and Memorandum of

           Law for Protective Order Sequestering Fact Witnesses Prior to Depositions and Barring

           Fact Witnesses from Attending, Reading, or Being Informed About Testimony at Deposition

           of Other Witnesses, and the Court being fully advised in the premises, it is hereby

                   ORDERED and ADJUDGED as follows:

                   1.      The Motion is GRANTED.

                   2.      Fact witnesses are prohibited from attending, reading, or being informed

           about the deposition testimony of parties or other witnesses in this cause.

                   DONE and ORDERED in Palm Beach County, Florida, this ______ day of January,

           2006.                                     _____________________________________
                                                     DONALD M. MIDDLEBROOKS
                                                     United States District Court Judge
           cc:     Atlee W. Wampler, Esq.
                   Lawrence M. Burrell, Jr., Esq.
                   Gene P. Kissane, Esq.
                   Barry A. Postman, Esq.
                   S. Jonathan Vine, Esq.
                   Stuart Z. Grossman, Esq.
                                                     F:\C LIE N T S \6082\P LE A D IN G S \O -M -P rotective O rder to Sequest W itnesses.wpd


6 of 6
